         Case 3:22-cv-00211-SDD-SDJ          Document 304     10/24/23 Page 1 of 2




                            UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, et al
                                                                        CIVIL ACTION
versus
                                                                        22-211-SDD-SDJ
KYLE ARDOIN, in his official
capacity as Secretary of State
for Louisiana

consolidated with

EDWARD GALMON, SR., et al
                                                                        CIVIL ACTION
versus
                                                                        22-214-SDD-SDJ
KYLE ARDOIN, in his official
capacity as Secretary of State
for Louisiana

                                   SCHEDULING ORDER

         The parties have met and conferred and agree on the following prehearing

deadlines, which are hereby established:

         x   Deadline to identify experts performing RPV or Election Analysis on 2023
             Elections and any Fact Witnesses: December 15, 2023

         x   Deadline for parties to exchange Expert Reports on RPV or Election Analysis
             on 2023 Elections: January 12, 2024

         x   Close of Discovery: January 22, 2024

         x   Deadline for parties to exchange exhibit lists for remedial hearing: January 26,
             2024

         x   Deadline for parties to file witness and exhibit lists, with objections: January
             30, 2024

         x   Deadline for parties to file prehearing briefs: January 31, 2024
Case 3:22-cv-00211-SDD-SDJ         Document 304      10/24/23 Page 2 of 2




The parties have also agreed to the following terms:

a. Each side shall be limited to the presentation of one proposed remedial map.

b. In the event that the State of Louisiana enacts a map close in time to February

   5, 2024, the parties shall meet and confer regarding any adjustment to the pre-

   hearing schedule to afford Plaintiffs an opportunity to take discovery and submit

   expert reports and testimony concerning any such map, as time allows before

   the start of the remedial hearing on February 5, 2024.

c. Any proposed remedial map to be considered at the hearing shall comply with

   the Court’s preliminary injunction Ruling and Order, ECF No. 173, except to the

   extent that the Ruling and Order may be reversed or modified on appeal. See

   Ruling and Order at 2 (“The appropriate remedy in this context is a remedial

   congressional redistricting plan that includes an additional majority-Black

   congressional district.”).

Signed in Baton Rouge, Louisiana, on October 23, 2023.




                                 S
                                JUDGE SHELLY D. DICK
                                UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF LOUISIANA
